00130-KFW Document 2-1 Filed 04/26/24 Page1of63 PagelD #: 62

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EXHIBIT
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ARTEMISSION.com
Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.
( >
Certificate Of Authenticity

Ref. —18.13688

Decorated Luristan Bronze Stag, c. 900-800 B.C. i

Size: 4.8 cm L - 1 7/8” |

Material: Bronze

Culture: Luristan, c. 900-800 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)
e =
ed Artemission

4

Invoice 29011

Mrs. Susan Katzev 19 September 2008

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Decorated Luristan Bronze Stag, c. 900-800 B.C.
Total USS 396

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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=00130-KFW Document 2-1 Filed 04/26/24 Page 2 o0f63 PagelD #: 63

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SWS OLA

England LK

Certificate Of Authenticity

Ref. = 18.13454
Luristan Bronze Sitting Horse, c. 900 B.C.
Size: 6.3 cm L - 2 1/2”

Material: Bronze
Culture: Luristan, c. 900 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

e AT

Artemission

Invoice 28880

Mrs. Susan Katzev 22 July 2008
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Luristan Bronze Sitting Horse, c. 900 B.C.
Total U.S.$ 792

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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mgQO0130-KFW Document 2-1 Filed 04/26/24 Page 3o0f63 PagelD #: 64

ARTEMISSION.com

Altticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref.  20.15848

Luristan Bronze Lioness Figure, Persia, c. 1000 B.C.

Size: 5.4 cm L -2 1/8”
Material: Bronze
Culture: Luristan,c. 1000 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

® gfe

Artemission
. J
te if
Invoice 30112
Mrs. Susan Katzev 17 January 2010
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES
Luristan Bronze Lioness Figure, Persia, c. 1000 B.C.
Total US.$ 616

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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Document 2-1 Filed 04/26/24 Page 4of63 PagelD #: 65

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. 20.15791

Luristan Bronze Horse Cheek-Piece in the Form of a Stag, c. 900
B.C.

Size: 8.2cm.H.-3 1/$”

Material: Bronze

Culture: Luristan, c. 900 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

e eT

Artemission

Invoice 30083

Mrs. Susan Katzev 06 January 2010

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Horse Cheek-Piece in the Form of a Stag, c. 900
B.C. Total US$ 572

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583
VAT No. 503 1481 89
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.00130-KFW Document 2-1 Filed 04/26/24 Page5of63 PagelD #: 66

Arte]Tission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref. 2524735

Large Luristan Bronze Double Stag, c. 8th-6th Century B.C.
Size: 8.5 cm H - 3 3/8”

Material: Bronze
Culture: Luristan, c. 8th-6th Century B.C.

Provenance: previously in a private UK collection, acquired from
Moore antiquities 2002, London UK

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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VALAA®

ALR Certificate S00096278

Invoice 33119

Mrs. Susan Katzev 02 February 2015
PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

| Large Luristan Bronze Double Stag, c. 8th-6th Century B.C,
Total U.S.$ 1320

Email: into@artemission.com
Tel: +44 20 7565 0997

VAT No: 503 1481 89
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130-KFW Document 2-1 Filed 04/26/24 Page 6of63 PagelD #: 67

ArteTission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Size: 8.2 cm.L. - 3 3/16 inches

Culture: Luristan, 8th-7th Century B.C.

Certificate Of Authenticity
Ref. 26.31645
Luristan Bronze Rattle with Ibex, 8th-7th Century B.C.

Material: Bronze

Provenance: The Leo Mildenberg Collection of Ancient Animals.
Ex. Christie’s auction, London, Oct. 2007

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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ancient art %, # 4s Artemission
“FALAA®

Invoice 33689

Mrs. Susan Katzev 31 May 2016
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Luristan Bronze Rattle with Ibex, 8th-7th Century B.C.
Total US.$ 1320

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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ArteTirission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

wy ne.
Certificate Of Authenticity
Ref. 25.29818
Luristan Bronze Bell With Rams’ Heads, c. 900 B.C.
Size: 6.1 cm L - 2 7/16”
Material: Bronze
Culture: Luristan, c. 900 B.C.
Provenance: UK private collection.
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
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Invoice 33661

Mrs.Susan Katzev 03 May 2016

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Bell With Rams’ Heads, c. 900 B.C.
Total U.S.$

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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130-KFW Document 2-1 Filed 04/26/24 Page 8of63 PagelD #: 69

Artefirission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref, 25.29924
Luristan Bronze Harness Trapping, Mythical Animal, c. 900 B.C.

Size: 6.3 cm L -2 1/2”
Material: Bronze
Culture: Luristan, c. 900 B.C.

Provenance: Private collection of a Lady, London, UK.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

® Tag
#

ancient com

Artemission

Invoice 33492

Mrs. Susan Katzev 07 December 2015
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Luristan Bronze Harness Trapping, Mythical Animal, c. 900 B.C.
Total US$ 704

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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#30-KFW Document 2-1 Filed 04/26/24 Page 9of63 PagelD #: 70

ArteTirission

Atticart Ltd,
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

*
Certificate Of Authenticity
Ref. 25.27312
Large Luristan Standard with Ibexes and Leopards, c. 900-800 B.C.
Size: 25 cm L - 9 15/16”
Material: Bronze
Culture: Luristan , c. 900-800 B.C,
Provenance: Property from a Princely collection, acquired in the
ME in the 1960's.
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
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VALAA® 7
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ALR Certificate 00101153 f-
Invoice 33244
Mrs. Susan katzev 29 May 2015
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES
Large Luristan Standard with Ibexes and Leopards, c. 900-800
B.C. Total U.S$ 3344

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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ArteTission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref.  25.27268

Luristan Bronze and Stone Sword Sharpener, c. 900 B.C.
Size: 14.9 cm L - 5 7/8”

Material: Bronze and stone
Culture: Luristan, Persia, c. 900 B.C.

Provenance: Princely collection, acquired in the 1960’s-1970s

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 33238

Mrs. Susan Katzev 22 May 2015
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Luristan Bronze and Stone Sword Sharpener, c. 900 B.C.
Total U.S.$ 792

info@artemission.com

Tel: +44 20 7565 0997

VAT No: 503 1481 89
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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page11of63 PagelD#: 72

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EXHIBIT
12
ArteTiission
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 0LA
England, U.K.
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Certificate Of Authenticity
Ref.  26.32007

Large Luristan Bronze Winged Stag and Fawn, Horse Cheekpiece,
Persia c. 900 B.C.

Size: 17.5 x 13 cm -6 15/16x 5 1/8 inches
Material: Bronze
Culture: Luristan, c. 900 B.C.

Provenance: British private collection, Mr. A. Ghazi, acquired in
Holland in the 1980’s.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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He ALR Certificate S00115899 f
Invoice 33839
Mrs. Susan Katzev 30 September 2016
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Large Luristan Bronze Winged Stag and Fawn, Horse Cheekpiece,
Persia c. 900 B.C. Total US$ 3120

into@ artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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ARTEMISSION.com

Atticart Lid.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

RSO-KFW Document 2-1 Filed 04/26/24 Page 12o0f63 PagelD#: 73

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

Certificate Of Authenticity )
Ref. _17.12061
Luristan Bronze Mountain Goat Cosmetic Vessel, c. 1000-900
B.C,
Size: 5.7 cm H - 2 5/16”
Material: Bronze
Culture: Luristan, c. 1000-900 B.C.
We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)
Artemission
“f
Invoice 28064
Mrs. Susan Katzev . 16 October 2007
PO Box 265
70 Mollys Point Road
Southport ME 04576 “
UNITED STATES “
Luristan Bronze Mountain Goat Cosmetic Vessel, c. 1000-900
B.C. Total U.S.$ 1408
130-KFW Document 2-1 Filed 04/26/24 Page 13 of 63

PagelD #: 74
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ArteTmission
Atticart Ltd.
16 Bina Gardens, Flat ll
London SW5 OLA
England, U.K.
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Certificate Of Authenticity

Mrs. Susan Katzev

PO Box 265 22 November 2021
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Cheekpiece in the Shape of a Horse,
Persia c. 900 B.C.

Size: 7.6 cm L - 3 inches
Material: Bronze
Culture: Luristan c. 900 B.C.

Provenance: British private collection, acquired at TL auction London.

Ref.

We cerlify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition(except where stated)

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ancient art ALA Ae Artemission

http://www.artemission.com
info@artemission.com
Tel: +44 20 7565 0997
VAT No: GB 503 1481 89

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-00130-KFW Document 2-1 Filed 04/26/24 Page14of63 PagelD#: 75

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Atticar! Ad.
16, Bina Garg s, Flat 11
London S¥ 5 OLA

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Certificate Of Authenticity

Ref. 17.1 1175
Luristan Bronze Pendant-Mirror, c. L000 B.C.

Size: 7.7 cm. H. x 7.2. cm. W.
Material: Bronze
Culture: Luristan, c. 1000 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 27536

Mrs. Susan Katzev 28 March 2007

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Pendant-Mirror, c. 1000 B.C.
Total U.S.$ 900

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice
Document 2-1 Filed 04/26/24 Page 15o0f63 PagelD#: 76

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

SSS
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Certificate Of Authenticity
Ref. 17.11546
Luristan Bronze Bird, c. 900 B.C.

Size: 4.1 cm W - 1.6”
Material: Bronze
Culture: Luristan, c. 900 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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# Artemission

Invoice 27782

Mrs. Susan Katzev 21 June 2007

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Bird, c. 900 B.C.
Total U.S.$ 528

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89 =
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Document 2-1 Filed 04/26/24 Page 16 o0f63 PagelD#: 77

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11

London SWS OLA
England U.K.
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Certificate Of Authenticity
Ref. 16.9451

Large Luristan Bronze Stag, Persia c. 900 B.C.

Size: 15.5cm W (6 1/16”)
Material: Bronze. Horn repaired
Culture: Luristan, c. 900 B.C. d

Provenance: Ex private French collection, acquired in France in
the 1970's.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

@

Artemission

Invoice 26644

Mrs. Susan Katzev 05 June 2006

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Large Luristan Bronze Stag, Persia c. 900 B.C.
Total U.S$ 2250

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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EXHIBIT
18

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Atticart Ltd.
16 Bina Gardens, Flat Ll
London SW5 OLA
England, U.K.

-—
Certificate Of Authenticity
Susan Katzev
PO Box 265 06 May 2021
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Cheekpiece in the Shape of a Horse

Size: 8.1 cm L - 3 3/16 inches
Material: Bronze
Culture: Luristan c. 900 B.C.

Provenance: British private collection, acquired at TL auction London.

Ref.

We cerlify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition(except where stated)

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page17of63 PagelD#: 78

http://www.artemission.com
| info@ artemission.com
Tel: +44 20 7565 0997
VAT No: GB 508 1481 89

17
Document 2-1 Filed 04/26/24 Page 18 o0f63 PagelD#: 79

ArteTission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Luristan Iron Axe Head with Eagle Head, c. 9th-8th Century B.C.

Size: 12 cm L - 4 11/16 inches (including handle)
Material: Iron
Culture: Luristan, c. 9th-8th Century B.C.

Certificate Of Authenticity
Ref, 28.34758

Provenance: ex. Property Mr. A. Dajan, London, acquired prior to
2000.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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anclentart 7 3 Artemission
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Invoice 34531

Mrs. Susan Katzev 16 May 2018
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Luristan Iron Axe Head with Eagle Head, c. 9th-8th Century B.C.
Total US$ 704

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

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Margin Scheme - Works of Art
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Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

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Certificate Of Authenticity
Ref. 16.9382

Two Luristan Bronze Cheekpieces in the Shape of Horses,
Persia c. 900 B.C.

Size: 8cm H. (3 1/8")
Material: Bronze
Culture: Luristan c. 900 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 26605

Mrs. Susan Katzev 24 May 2006

PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES m=

Two Luristan Bronze Cheekpieces in the Shape of Horses, Persia
c. 900 B.C. Total U.S.$ 2250

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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30-KFW Document 2-1 Filed 04/26/24 Page 200f63 PagelD #: 81

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

f Certificate Of Authenticity |
Ref. 18.12556

Luristan Bronze Standard Finial with Ibex and Lions, c. 1000 B.C.

Size: 19 cm H -7 1/2”
Material: Bronze
Culture: Luristan, c. 1000 B.C.

Provenance: Property from the collection of a Prince, acquired in
the 1960's.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 28368

Mrs. Susan Katzev 30 January 2008
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES 2 -

Luristan Bronze Standard Finial with Ibex and Lions, c. 1000 B.C.
. Total US$ 1320

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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Document 2-1 Filed 04/26/24 Page 210f63 PagelD #: 82

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. 17.12362

Luristan Bronze Finial with Figure and Bulls, c.9th-8th Century
BC.

Size: 24.5 cm H circa - 9 5/8”
Material: Bronze
Culture: Luristan, c. 9th-8th Century B.C.

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We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Invoice 28250

Mrs. Susan Katzev 17 December 2007
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Luristan Bronze Finial with Figure and Bulls, c.9th-8th Cefitury «
BC. Total US$ 1232

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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Document 2-1 Filed 04/26/24 Page 22 0f63 PagelD#: 83

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

— 7
Certificate Of Authenticity

Ref. = 18.13080

Luristan Bronze Master-of-Animals Standard, c. 8th-7th Century
Bc.

Size: Total Height 42 cm - 15 13/16”
Material: Bronze
Culture: Luristan, c. 8th-7th Century B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 28668

Mrs. Susan Katzev 02 May 2008

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

a “yh
Luristan Bronze Master-of-Animals Standard, c. 8th-7th Century
B.C. Total US$ 2200

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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Document 2-1 Filed 04/26/24 Page 23 0f 63 PagelD#: 84

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. 18.1317]
Luristan Bronze facing Lions Finial, Persia c. 1000 B.C.
Size: 7.1 em H - 2 13/16”

Material: Bronze
Culture: Luristan, c. 1000 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission
\ aay
Invoice 28708 i
Mrs. Susan Katzev 21 May 2008
PO Box 265 .
70 Mollys Point Road
Southport ME 04576
UNITED STATES
Luristan Bronze facing Lions Finial, Persia c. 1000 B.C.
Total US.$ 880

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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30-KFW Document 2-1 Filed 04/26/24 Page 24 o0f63 PagelD #: 85

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. 18.13385

B.C;

Size: 5.9 cm inside D - 2 3/8”
Material: Bronze
Culture: Luristan, c. 1000 B.C.

Luristan Bronze Military Bracelet With Horses Heads, c. 1000 ; =

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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ed Artemission
. J
Invoice 28828
Mrs. Susan Katzey 30 June 2008
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Military Bracelet With Horses Heads, c. 1000
B.C. Total US$ 484

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

14
130-KFW Document 2-1 Filed 04/26/24 Page 25 of63 PagelD #: 86

ArteTimssion

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity

Susan Katzev
PO Box 265 06 May 2021

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Luristan Bronze Horse Plaque, ex. Christies

Lf dy

Size: 12.9 cm L-5 1/16 inches
Material: Bronze
Culture: Luristan, c. 800 B.C.

Provenance: Published Christies London, October 2007, previously the property of a Prince,
acquired in the 1960s.

Ref.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition(except where stated)
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ancientart AT AAS rtemission
ue — =.
http://www.artemission.com

info@artemission.com

Tel: +44 20 7565 0997
VAT No: GB 503 1481 89

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(-00130-KFW Document 2-1 Filed 04/26/24 Page 26 of 63 PagelD #: 87

ArteTission

Atticart Ltd.
16 Bina Gardens, Flat 11
London $W5 OLA
England, U.K.

Certificate Of Authenticity
Ref,  25.24818

Achaemenide Silver Head of a Sceptre with Rams Head,
c. 600-500 B.C.

Size: 5.1 cm H - 2”
Material: Silver, 26.82
Culture: Achaemenide, c. 600-500 B.C.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 33132

Mrs. Susan Katzev 09 February 2015
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Achaemenide Silver Head of a Sceptre with Rams Head,
c. 600-500 B.C. Total US$ 792
Email: info@artemission.com

Tel: +44 20 7565 0997

VAT No: 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

16
-00130-KFW Document 2-1 Filed 04/26/24 Page 27 of63 PagelD #: 88

ARTEMISSION.com

Atticart Lid.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

———
SaaS

Certificate Of Authenticity )
Ref, 20.16801

Achaemenid Bronze Bowl, c. 6th- Sth Century B.C.
Size: 9 cm. D. - 3.6”

Material: Bronze
Culture: Achaemenid, c. 6th - 5th Century B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

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art books

Invoice 30511

Mrs. Susan Katzev 25 July 2010
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Achaemenid Bronze Bowl, c. 6th- Sth Century B.C.
Total US$ 572

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

27
Artefmssion

Atticart Ltd.
16 Bina Gardens, Flat Ll
London SW5 OLA
England, U.K.

PagelD #: 89

Certificate Of Authenticity

Ref.  26.32363

Large Achaemenid Bronze Bowl Decorated with a Lotus Buds,
Persia, 5th Century BC

Size: 19 cm D -7 1/2 inches
Material: Bronze
Culture: Achaemenid, 5th Century B.C.

Provenance: Ex property Mr. M.P., London UK, acquired from a
London Gallery in 2001.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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eALAA® 7%
% “RR
Invoice 34058
Mrs. Susan Katzev 28 February 2017
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES
Large Achaemenid Bronze Bow! Decorated with a Lotus Buds,
Persia, 5th Century BC Total US.$ 1056

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c Sa ON i
PEW 9 SKA RAT TUM into@artemission.com

Tel: +44 20 7565 0997
VAT No: 503 1481 89
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28
Document 2-1 Filed 04/26/24 Page 29 of 63 PagelD #: 90

ARTEMISSION.com

Atticart Lid.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. —‘17.11835

Achaemenide Bronze Decorated Cup, c. 6th Century B.C.

Size: 9.2 cm H. x 10.8 cm. D. - 4 1/4” D. x3 5/8” H.
Material: Bronze
Culture: Achaemenide, c. 6th Century B.C.

We certify that the items described above arc from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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#P Artemission

Invoice 27906

Mrs. Suzan Katzev 06 August 2007

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Achaemenide Bronze Decorated Cup, c. 6th Cenjury B.C.
Total U.S.$ 1232

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

29
Document 2-1 Filed 04/26/24 Page 300f63 PagelD#: 91

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. 21.18205
Persian Silver Peacock, Seljuk Period, c. 10th -11th Century A.D.
Size: 7.8 cm H - 3 1/8"

Material: Silver
Culture: Persia, 10th -11th Century A.D.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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sabe # Artemission
= "rATAAY a

Invoice 31711

Mrs.Susan Katzev O1 August 2011

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Persian Silver Peacock, Seljuk Period, c. 10th -1 1th Century A.D.
Total US$ 792

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

30
30-KFW Document 2-1 Filed 04/26/24 Page 31of63 PagelD #: 92

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref. 17.11974

Bronze Oil Lamp With Lions and Bird Handle, Seljuk, Persia 11th
Century AD

Size: 12.5 cm. L. - 5”
Material: Bronze
Culture: Seljuk, Persia 11th Century AD

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

GO ZeE7—

#% Artemission

Invoice 28011

Mrs. Susan Katzev 26 September 2007

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Bronze Oil Lamp With Lions and Bird Handle, Seljuk, Persia 11th
Century AD Total U.S.$ 528

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No, 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

3)
Case 2:24-mj-00130-KFW Doc

HELIOS “GALLERY”

GOVERNMENT
EXHIBIT

33 Antiquities
aT = 879 3525 73
www.heliosgallery.com

SALE INVOICE

Susan W. Katzev
PO Box 265
Southport

ME 04576

USA

90th March 2012
INVOICE NO: 11/651

Payment due by: PAID by card

STOCK Description price £ |
No.
H1390b3 | 1x Green stone animal amulet. Iran, late 24 or 15! Millennium BC. Ex.
private collection, London, UK; acquired before 1990. 151.55
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i os 3 5 Credit card/Paypal/bank transfer charges 5% 8.45
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Wem se s3 TOTAL £169
a a zo ee
Zo) = 6 5 > F § not been and will not be claimed by usin respect of the goods sold on this invoice
io Ss <«<& wea All the above items have been in the EU prior to January 2001
Fa = im c B 7 /- i
Y wv ~ Ki ° °
= 2 ‘ry, Lower Kingsdown, Wiltshire SN13 8BG
a Tel/Fax- 01225 744751 Mobile- 07711 955997

heliosgallery@btinternet.com
www.heliosgallery.com

42
Document 2-1 Filed 04/26/24 Page 33 0f 63 PagelD#: 94

ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SWS OLA
England UK.

Certificate Of Authenticity
Ref.  19.14509
Bactrian Bronze Zebu Bull, Persia c. 2200-2000 B.C.

Size: 11 cm L - 43/8”
Material: Bronze
Culture: Bactrian, c. 2200-2000 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

® piper F—

Artemission

Invoice 29421

Mrs.Susan Katzev 11 March 2009

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Bactrian Bronze Zebu Bull, Persia c. 2200-2000 B.C.
Total U.S$ 2112

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583
VAT No. 503 1481 89

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33
ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Document 2-1 Filed 04/26/24 Page 340f63 PagelD #: 95

Certificate Of Authenticity
Ref,  21.18305

Terracotta Horse, Mauryan Period, Persia, c. 5th-3rd Century B.C.
Size: 18 cm H -7 1/16”

Material: Terracotta
Culture: Persia, c. Sth-3rd Century B.C.

Published Bonhams, London, 30th October 2003, Lot 359. ex.
Private Dutch Collection. Accompanied by a thermoluminescence

test certificate from Ralf Kotalla Laboratory, Haigerloch-Weildorf,
Germany.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission
FATAAS
ie “F
Invoice 31705
Mrs. Susan Katzev 17 May 2012
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Terracotta Horse, Mauryan Period, Persia, c. Sth-3rd Century B.C.

Total US$ 804.10

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 35o0f63 PagelD #: 96

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EXHIBIT
36 ARTEMISSION.com

Atticart Lid.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref, 21.17650

Bactrian Grey/Green Stone Figure of a Moufion, Persia, c. 1500 B.C. ne =e
e

Size: 5.9 cm L - 2 3/8” .

Material: Stone

Culture: Persia, c. 1500 B.C.

Provenance: ex. property Mr. S. Q., London UK

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 30885

Mrs. Susan Katzev 13 March 2011

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Bactrian Grey/Green Stone Figure of a Mouflon, Persia, c. 1500
BG. Total US$ 1320
Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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ArteTssion

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Document 2-1 Filed 04/26/24 Page 36 of 63 PagelD #: 97

Invoice 33518

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' Certificate Of Authenticity
Ref, 25.28344
Persian Painted & Glazed Brick, Head of a Man, Bukan, c. 1000 B.C. -
= L - ¥ }
Size: 16 em H - 6 5/16” 1
Material: Terracotta ) m~ eal
Culture: Persia, c. 1000 B.C. [ eS eed
Provenance:UK private collection of a gentleman of Iranian descent, : “(es
acquired in the ME in the 1960’s-1970s
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
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“um aie nt art % & 2 Artemission
ALAA® “%
, ALR Certificate $00101337 f-

Mrs. Susan Katzev 08 January 2016

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Persian Painted & Glazed Brick, Head of a Man, Bukan, c. 1000
BiG. Total USS

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
Input tax deduction has not & will not be claimed by me in respect of the goods sold on this invoice

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 37 of63 PagelD #: 98

GOVERNMENT
EXHIBIT
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5 ARTEMISSION.com

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

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( = s .
! Certificate Of Authenticity
Ref, 23.21493
Western Persia Vessel, Tepe Giyan, Mid 2nd Millennium B.C.
Size: 7.3 cm H - 2 7/8”
Material: Terracotta
Culture: Western Persia c. 2nd Millennium B.C.
Provenance:Timeline auction March 2013 from a private UK
collection.
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
S ety,
he 4 2 Artemission
“VATAA® “+
4 P
Invoice 020114
| Mrs. Susan Katzev 03 January 2014
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Western Persia Vessel, Tepe Giyan, Mid 2nd Millennium B.C.

Total US$ 308

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

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47
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 38 o0f63 PagelD #: 99

GOVERNMENT
EXHIBIT
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ARTEMISSION.com
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.
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Certificate Of Authenticity
Ref. 23.21513
Western Persia Vessel, Tepe Giyan, Mid 2nd Millennium B.C.
Size: 9.3 cm D - 3 L1/16”
Material: Terracotta
Culture: Western Persia c. 2nd Millennium B.C.
Provenance:Timeline auction March 2013 from a private UK
collection.
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
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Invoice 030114
Mrs. Susan Katzev 03 January 2014
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Western Persia Vessel, Tepe Giyan, Mid 2nd Millennium B.C.
Total US$

Email: info@artemission.com
Tel: +44 20 7565 0997

VAT No: 503 1481 89
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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 39 0f63 PagelD #: 100

GOVERNMENT
EXHIBIT

40 ARTEMISSION.com

Atticart Ltd.

16, Bina Gardens, Flat L1
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref.  22.19481

Sassanian Bronze Lion Attachment, c 5th Century A.D.

Size: 6.3 cm L - 2 9/16”
Material: Bronze
Culture: Sassanian, c Sth Century A.D.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Invoice 31832

Mrs.Susan Katzey 14 August 2012
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Sassanian Bronze Lion Attachment, c 5th Century A.D.
Total U.S.$ 396

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

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49
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 40 0f 63 PagelD#: 101

GOVERNMENT
EXHIBIT
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ArteTiission
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.
wy re

Certificate Of Authenticity
Ref.  26.31948

Sassanian Marble Horse’s Head, c. 4th-Sth Century A.D.

Size: 13.5 cm L - 5 5/16 inches, from nose to back of neck
Material: Marble

Culture: Sassanian, c. 4th-Sth Century A.D.

Provenance: Ex. private Mr. H. Tavit collection, London UK,
acquired in the 1970’s from a Brussels gallery.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 33764

Mrs. Susan Katzev 24 July 2016
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Sassanian Marble Horse’s Head, c. 4th-5th Century A.D.
Total US$ 4400

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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40
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 41 0f63 PagelD#: 102

GOVERNMENT
EXHIBIT
ae ARTEMISSION.com
Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. —17.11425

Sassanian Gold Bracelet with Figures and Inscription, c. Sth-6th
Century A.D.

Size: 6.1 cm inside D - 2 7/16”
Material: Gold, c. 20K
Culture: Sassanain, c. Sth-6th Century A.D.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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of.
Invoice 27729
Mrs. Susan Katzev 07 June 2007
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES
Sassanian Gold Bracelet with Figures and Inscription, c. Sth-6th
Century A.D. Total U.S.$ 1760

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

4|
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 42 of 63 PagelD#: 103

GOVERNMENT
EXHIBIT
43 ARTEMISSION.com
Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity

Ref. 17.11103

Sassanian Marble Relief of a Seated Stag, c. 2nd-3rd Century
A.D.

Size: 10.6 cm W - 4 3/16”
Material: Marble
Culture: Sassanian, c. 2nd - 3rd century A.D.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 27485

Mrs. Susan Katzev 15 March 2007

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Sassanian Marble Relief of a Seated Stag, c. 2nd-3rd Century
A.D. Total U.S.$ 1080

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

42
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 43 0f 63 PagelD #: 104

GOVERNMENT
EXHIBIT
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Artefrission
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.
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Certificate Of Authenticity
Ref,  29.35338
Nishapur Glazed Pottery Bowl, Persia 11th Century A.D.
Size: 17.8 cm D -7 inches
Material: Terracotta
Culture: Nishapur, c. 11th Century A.D.
Provenance:ex. property Mr. A. Dajan, London, acquired in the
1980s-1990s.
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
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Invoice 34801
Mrs. Susan Katzev 22 February 2019
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Nishapur Glazed Pottery Bowl, Persia 11th Century A.D.
Total US$
info@artemission.com
Tel: +44 20 7565 0997

VAT No: GB 503 1481 89

Input tax deduction has not & will not be claimed by me in respect of the goods sold on this invoice
Margin Scheme - Works of Art

792

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 44 o0f63 PagelD #: 105

GOVERNMENT
EXHIBIT

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Atticart Ltd. SAM
16 Bina Gardens, Flat 11

London SW5 OLA
England, U.K.

Certificate Of Authenticity

Ref. 29.35819

Elamite Bronze Cosmetic Vessel with Three Ram’s Head,
c. 2500-2200 B.C.
Size: 5.6 cm H - 2 1/4 inches

Material: Bronze
Culture: Elamite, c. 2500-2200 B.C.

Provenance: From a Japanese collection of the 1980s, acquired at a
London auction.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Artemission

ancient art

Invoice 090720

Mrs. Susan Katzev

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Elamite Bronze Cosmetic Vessel with Three Ram’s Head,
c. 2500-2200 B.C. Total U.S$

info@artemission.com
Tel: +44 20 7565 0997

VAT No: GB 503 1481 89

Input tax deduction has not & will not be claimed by me in respect of the goods sold on this invoice
Margin Scheme - Works of Art

10 July 2020

1584

44
30-KFW Document 2-1 Filed 04/26/24 Page 45of63 PagelD #: 106

Artefimission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref. 29.35858
Elamite Black Steatite Stag Vessel, c. 2200-2000 B.C.
Size: 8.9 cm L - 3 9/16 inches

Material: Black steatite
Culture: Elamite, c. 2200-2000 B.C.

Provenance:UK private collection of a gentleman of Iranian descent,
acquired in the 1960’s-1970s.

We cerfify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 35039

Mrs.Susan Katzev 08 November 2019
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Elamite Black Steatite Stag Vessel, c. 2200-2000 B.C.
Total U.S.$ 1056

info@artemission.com
Tel: +44 20 7565 0997

VAT No: GB 503 1481 89

Input tax deduction has not & will not be claimed by me in respect of the goods sold on this invoice
Margin Scheme - Works of Art

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Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity

Ref. — 32.36770
Elamite Bronze Axe Head with Dragon’s Head, c. 1000 B.C.

Size: 16.5 cm L - 6 1/2 inches
Material: Bronze
Culture: Elamite, c. 1000 B.C.

Provenance: ex UK collection, acquired prior to 2010.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition

30-KFW Document 2-1 Filed 04/26/24 Page 46 of63 PagelD #: 107

(except where stated)
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Invoice 35680

Mrs. Susan Katzev 28 February 2022

PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Elamite Bronze Axe Head with Dragon’s Head, c. 1000 B.C.

Total US$ 1232

info@artemission.com
Tel: +44 20 7565 0997

VAT No: GB 503 1481 89

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Margin Scheme - Works of Art

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ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref. 18.14116
Rare Elamite Copper-Alloy Figure of a Horned Quadrupede, c.

2400-2200 B.C.

Size: 6 cm L - 2 3/8"
Material: Copper-alloy
Culture: Sumerian c. 2400-2200 B.C.

We certify that the ilems described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

® a

Artemission

Invoice 29261

Mrs. Susan Katzev 23 December 2008

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Rare Elamite Copper-Alloy Figure of a Horned Quadrupede, c.
2400-2200 B.C. Total US$ 1320

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

47
-00130-KFW Document 2-1 Filed 04/26/24 Page 48 of63 PagelD #: 109

ArteTssion

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

¥ i
Certificate Of Authenticity |
Ref,  25.29674

Amlash Bronze Figure, c. Late 2nd Millennium B.C//
Early First Millennium B.C. vy

Size: 9 cm H - 3 9/16” “¢,
Material: Bronze

Culture: Amlash, Late c. 2nd Millennium B.C./Early First

Millennium B.C.

Provenance: Ex. property A. Sultani, London UK, acquired on the
London art market in 2001.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 33412

Mrs.Susan Katzev 12 October 2015
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Amlash Bronze Figure, c. Late 2nd Millennium B.C//
Early First Millennium B.C. Total U.S.$ 1936

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
Input tax deduction has not & will not be claimed by me in respect of the goods sold on this invoice

48
30-KFW Document 2-1 Filed 04/26/24 Page 49o0f63 PagelID #: 110

ArteTfrission

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref. — 25.29896

Amlash Bronze Figure Grinding Grains, North Persia, c. 1000 B.C.

Size: 3.3 cm H - 1 5/16”
Material: Bronze
Culture: Amlash, c. 1000 B.C.

Provenance: Collection Mr. A. R., London UK, acquired in 2002 on
the London Art Market.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Artemission

Invoice 33482

Mrs. Susan Katzev 27 November 2015
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Amlash Bronze Figure Grinding Grains, North Persia, c. 1000

B.C. Total US$ 440
info@artemission.com
Tel: +44 20 7565 0997

VAT No: 503 1481 89
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30-KFW Document 2-1 Filed 04/26/24 Page 50o0f63 PagelD #111

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ARTEMISSION.com
Atticart Lid.
16, Bina Gardens, Flat L1
London SW5 OLA
England U.K.
+)

Certificate Of Authenticity
Ref,  22.19333

Rare Parthian Bronze Ewer with Griffin, c. lst-2nd Century A.D.
Size: 18.1 cmH -7 1/16”

Material: Bronze
Culture: Parthian, c. lst-2nd Century A.D.

Provenance: UK collection, acquired in the 1980s on the London art
market.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Artemission

Invoice 31719

Mrs. Susan Katzev 21 May 2012
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Rare Parthian Bronze Ewer with Griffin, c. I1st-2nd Century A.D.
Total US$ 3168

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

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ARTEMISSION.com

Atticart Lid.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref. 18.12782
Bactrian Chlorite Plaque Pendant with Eagle, c. 2200 B.C.
Size: 5.5 cm H - 2 3/16”

Material: Chlorite
Culture: Bactrian, c. 2200 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

e

Artemission

Invoice 28487

Mrs. Susan Katzev 10 March 2008

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Bactrian Chlorite Plaque Pendant with Eagle, c. 2200 B.C.
Total US$ 528

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 52o0f63 PagelD#: 113

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EXHIBIT

oe ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K,

f Certificate Of Authenticity :

Ref.  18.12893

Bactrian Chlorite Processional Votive Eagle, c. 2200 B.C.

Size: 16.3 cm H - 6 3/8”
Material: Chlorite
Culture: Bactrian, c. 2200 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

e

Artemission

Invoice 28574

Mrs. Susan Katzev 31 March 2008
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Bactrian Chlorite Processional Votive Eagle, c. 2200 B.C.
Total U.S4$ 1672

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 53 of 63

’ Artemission - Ancient Artifacts and Antiquities Online Art Gallery
[ ReseveBuyltem ja OB #

GOVERNMENT
Decorated Bactrian Chlorite Chalice, c. 2200 B.C. EXHIBIT
(Bactrian Chlorite Cup)
Item number: 17.11352 54
Item category: Early Cultures
Size: 12.9 cmH - 5 1/16”
Price: us$ 3800

Cincal ribbed foot, ribbed stem, decorated with three
mountain goats and trees. Yo

B 4, BAA
Material : Chlorite

Culture ; Bactrian, c. 2200 B.C. “Veco , 2007
Condition : Intact

Steatite vase
| from Jiroft, Tran,
3rd millennium
BC. H. about 15cm.
| From Jiroft, the
Earliest Oriental
| Civilization,
\ by Yousef
Madjidzadeh
| (Pishin Pajouh
| Yditions, Tehran,
| 2003, no. 28b).

http://www.artemission.com/V iewltemDetails.asp?ItemNumber=17. 11352

PagelD #: 114

Page | of 2

5>
10/28/2007
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 54o0f63 PagelD#: 115

‘Western Asiatic Vessel with Mythological Scene - Lot No. 0670 GOVERNMENT Page | of 2
EXHIBIT
Home > Auctions > 21st February 2017 > Western Asiatic Vessel with Mythological Scene 55
Previous Lot Next Lot
Back to previous page Print page | Email | a friend

Western Asiatic Vessel with Mythological Scene

Antiquities - Western Asiatic

LOT 0670

Estimate | a?
£2,500 - 3,500 tL ye
EUR 2,900 - 4,060
USD 3,110 - 4,360

Opening Bid: £2,500 (EUR 2,903; USD 3,115)

PLA OBID
View Large Image
Add to Watch list

75991 Western Asiatic Bactrian Jar with Figural Scene 2332

WESTERN ASIATIC VESSEL WITH MYTHOLOGICAL SCENE
2nd millennium BC

A carved chlorite jar with high-relief image of two oxen tied to a tree, inverted nude male
between them. 222 grams, 64mm (2 1/2"). Fine condition, rim chipped. Very rare.

54+

http://www.timelineauctions.com/lot/vessel-with-mythological-scene/85321/ 1/25/2017
30-KFW Document 2-1 Filed 04/26/24 Page 55of63 PagelD # 116

Artefrssion

Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref. 28.34780
Large Bactrian Plaque, Bull Man and Dragons, c. 2200 B.C.
Size: 18 cm L - 7 inches

Material: Chlorite
Culture: Bactrian, c. 2200 B.C.

Provenance: ex. property Mr. A. Dajan, London, UK,
acquired in the 1990s.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 34515

Mrs. Susan Katzev 01 May 2018
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Large Bactrian Plaque, Bull Man and Dragons, c. 2200 B.C.
Total US$ 2640

into@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

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Margin Scheme - Works of Art

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ArteTssion
Atticart Ltd.

16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

Certificate Of Authenticity
Ref.  26.31505

Bactrian Chlorite Ram’s Head, Mid Ist Millennium B.C.
Size: 7 cm. L. - 2 3/4 inches from tip of nose to back of neck.

Material: Chlorite
Culture: Bactrian, Mid Ist Millennium B. C.

Provenance: ex Mr. Dajan collection, acquired on the London art
market in 2001.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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ancientart 3, # Artemission
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x R
Invoice 33704
Mrs. Susan Katzev 23 June 2016
PO Box 265
70 Mollys Point Road
Southport ME 04576

UNITED STATES

Bactrian Chlorite Ram’s Head, Mid Ist Millennium B.C.
Total U.S.$ 800

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page57of63 PagelD#: 118

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58 ARTEMISSION.com

Atticart Lid.
16, Bina Gardens, Fiat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity .
Ref,  23.20265

Bactrian Bronze Cosmetic Bottle with Rams,
c. Early Ist Millennium B.C.

Size: 8.1 cm H - 3 3/16”
Material: Bronze
Culture: Early Ist Millennium B.C.

Provenance: ex. collection Mr. A. Sultani, London, UK

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Invoice 310113

Mrs.Susan Katzev 31 January 2013
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Bactrian Bronze Cosmetic Bottle with Rams,
c. Early Ist Millennium B.C. Total U.S$ 792

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 58 o0f63 PagelD #: 119

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EXHIBIT

59 ARTEMISSION.com

Atticart Ltd.
16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref, 19.15178
Bactrian White Steatite Head of a Man, 3rd Millennium B.C.
Size! 3.7 cm. H.- 1 1/2”

Material: Steatite
Culture: Bactrian, Persia, 3rd Millennium B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Invoice 29777

Mrs. Susan Katzev 18 August 2009

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Bactrian White Steatite Head of a Man, 3rd Millennium B.C.
Total U.S.$ 704

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583
VAT No. 503 1481 89

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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 59o0f63 PagelD #: 120

GOVERNMENT
EXHIBIT
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ArteTTssion
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.
Certificate Of Authenticity
Ref, 26.31830
Large Sumerian Steatite Bull Amulet Seal, c. 2800-2500 B.C.
Size: 5.6 cm L - 2 1/4 inches
Material: Steatite
Culture: Sumerian, c. 2800-2500 B.C.
Provenance: ex. Dr. I. Beekmans collection, Germany, acquired in
the 1990’s.
We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)
panne: :
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ancientart 3 ? Artemission
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Me —~#-
Invoice 33736
Mrs. Susan Katzev 30 June 2016
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES

Large Sumerian Steatite Bull Amulet Seal, c. 2800-2500 B.C.
Total U.S$

info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89
Input tax deduction has not & will not be claimed by me in respect of the goods sold on this invoice

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59
Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 60o0f63 PagelD#: 121

GOVERNMENT
EXHIBIT
61
ARTEMISSION.com
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA

England, U.K.

a, ni.
Certificate Of Authenticity
Ref, 24.24122

Sumerian Uruk/Jemdet Nasr Marble Amulet of a Boar,
c. 3200-2900 B.C.

Size: 6.5 cm, L. - 2 1/2”
Material: Marble
Culture: Sumerian c. 3200-2900 B.C.

Provenance: British collection, Edinburgh, Scotland

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Invoice 0408 14

Mrs. Susan Katzev 04 August 2014
PO Box 265

70 Mollys Point Road

Southport ME 04576

UNITED STATES

Sumerian Uruk/Jemdet Nasr Marble Amulet of a Boar,
c. 3200-2900 B.C. Total U.S$ 792

Email: info@artemission.com
Tel: +44 20 7565 0997

VAT No: 503 1481 89
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Case 2:24-mj-00130-KFW Document 2-1 Filed 04/26/24 Page 610f63 PagelD#: 122
GOVERNMENT
EXHIBIT
62
ARTEMISSION.com
Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.
H, ai
Certificate Of Authenticity
Ref.  24.24336

Uruk Jemdet Nasr Marble Bull Amulet, Syria, c. 3200-2900 B.C.

Size: 5.2 cm L -2 1/16”
Material: Marble

Culture: Uruk Jemdet Nasr, c. 3200-2900 B.C. 1

Provenance: ex Collection Mr. S. Dajan, 1980s-1990s.

We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition
(except where stated)

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Artemission
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se ok.
Invoice 32943
Mrs. Susan Katzev 26 September 2014
PO Box 265
70 Mollys Point Road
Southport ME 04576
UNITED STATES
Uruk Jemdet Nasr Marble Bull Amulet, Syria, c. 3200-2900 B.C.
Total US$ 792

Email: info@artemission.com
Tel: +44 20 7565 0997
VAT No: 503 1481 89

Input tax deduction has not been and will not be claimed by me in respect of the goods sold on this invoice

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Atticart Ltd.
16 Bina Gardens, Flat 11
London SW5 OLA
England, U.K.

30-KFW Document 2-1 Filed 04/26/24 Page 62o0f63 PagelD # 123

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Certificate Of Authenticity

Ref. 30.36036

Sumerian Terracotta Dedication Foundation Cone with Cuneiform
Inscription, c. 2000 B.C.
Size: 12.2 cm L - 47/8 inches

Material: Terracotta
Culture: Sumerian, c. 2000 B.C.

Provenance: European private collection, acquired prior to 2000

(except where stated)

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We certify that the items described above are from the mentioned ancient
civilisation and are guaranteed to be entirely authentic and in original condition

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Invoice 35268

Mrs. Susan Katzev
PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Sumerian Terracotta Dedication Foundation Cone with Cuneiform

Inscription, c. 2000 B.C.
info@artemission.com

Tel: +44 20 7565 0997
VAT No: GB 503 1481 89

06 October 2020

Total U.S.$ 2112

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Margin Scheme - Works of Art

62.
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16, Bina Gardens, Flat 11
London SW5 OLA
England U.K.

Certificate Of Authenticity
Ref, _19.15288

Uruk-Jemdet Nasr Amulet of a Bull, c. 3000 B.C.
Size: 2.8 cm L - | 1/8”

Material: Steatite
Culture: Uruk-Jemdet Nasr, c. 3000 B.C.

We certify that the items described above are from the mentioned
ancient civilisation and are guaranteed to be entirely authentic and in
original condition (except where stated)

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Invoice 29867

Mrs. Susan Katzev 01 October 2009

PO Box 265

70 Mollys Point Road
Southport ME 04576
UNITED STATES

Uruk-Jemdet Nasr Amulet of a Bull, c. 3000 B.C.
Total U.S.$ 204.14

Email: info@artemission.com
Tel: +44 20 7373 8354 Fax: +44 20 7373 8583

VAT No. 503 1481 89
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